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                                  UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF OKLAHOMA

  BETTY ADAIR,
                                            Plaintiff,

  vs.                                                                       Case Number: 22-cv-261-TCK-JFJ

  WAL-MART STORES EAST, LP, et al.,
                             Defendants.


                                     ORDER FOR JOINT STATUS REPORT

          Pursuant to LCvR16.1, the parties are directed to prepare and submit to the Court a Joint Status
  Report on or before:
                                              August 5, 2022

          Joint Status Report forms are available in the Court Clerk’s office, or can be obtained from our public
  web site at www.oknd.uscourts.gov. For the purpose of preparing the Joint Status Report, the parties shall,
  pursuant to Fed. R. Civ. 16 and 26, confer at least 14 days prior to the date the Joint Status Report is to be
  submitted to the Court.

          Note that pursuant to Fed. R. Civ. P. 26(a)(1), initial disclosures must be made within 14 days after
  you confer for the purpose of preparing the discovery plan portions of the Joint Status Report, and that
  pursuant to LCvR26.1, parties shall make initial disclosures unless they stipulate otherwise in the Joint Status
  Report. By this order, all parties are under an affirmative duty to (I) comply with the mandatory disclosure
  requirements, and (ii) notify the Court of any non-disclosure so that the issue can be promptly referred to a
  Magistrate Judge for resolution.

            Be advised that scheduling conferences are not routinely set by the Court. A scheduling conference
  may, however, be set at a party’s request or on the Court’s own initiative. The parties shall indicate in their
  Joint Status Report whether they believe that a scheduling conference is necessary. If a scheduling conference
  is set, the Court will enter a Scheduling Order at the conclusion of the scheduling conference. If a scheduling
  conference is not set, the Court will enter a Scheduling Order based on the information provided by the parties
  in the Joint Status Report.

             IT IS SO ORDERED this 15th day of July, 2022.




  Order for Joint Status Report                                                                       CV-03a (4/04)
